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     Attorney for Defendant
     JAMIE RAMON FUENTES MARTINEZ
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8
                              IN THE UNITED STATES DISTRICT COURT
9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                       )       No. CR-S-15-140 MCE
                                                     )
12
                                                     )
             Plaintiff,                              )       STIPULATION REGARDING
13
                                                     )       EXCLUDABLE TIME PERIODS
14
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       ORDER
     JAMIE RAMON FUENTES MARTINEZ,                   )
15
                                                     )       Date: March 15, 2018
                                                     )       Time: 10:00 a.m.
16           Defendant.                              )       Judge: Honorable Morrison C. England, Jr.
                                                     )
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                                                     )
                                                     )
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19           The United States of America through its undersigned counsel, Paul A. Hemesath,

20   Assistant United States Attorney, together with counsel for defendant Jamie Ramon Fuentes
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     Martinez, John R. Manning, Esq., hereby stipulate the following:
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          1. By previous order, this matter was set for a change of plea on March 8, 2018.
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          2. On the courts own motion the change of plea hearing was continued to March 15, 2018.

25   The parties request to exclude time between March 8, 2018 and March 15, 2018 under the Local
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     Code T-4 (to allow defense counsel time to prepare).
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          3. The parties agree and stipulate, and request the Court find the following:
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           a. Currently, the government has provided approximately 150 pages of reports, 976
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2             audio files, 204 pages of transcripts, 13,493 Google Earth files, and hundreds of

3             pages of call logs.
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           b. Counsel for the defendant needs additional time to review the discovery, conduct
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              investigation, and discuss a possible resolution.
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           c. Counsel for the defendant believes the failure to grant a continuance in this case

8             would deny defense counsel reasonable time necessary for effective preparation,
9             taking into account the exercise of due diligence.
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           d. The government does not object to the continuance.
11
           e. Based on the above-stated findings, the ends of justice served by granting the
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13            requested continuance outweigh the best interests of the public and the defendant in a

14            speedy trial within the original date prescribed by the Speedy Trial Act.
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           f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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              Section 3161(h)(7)(A) within which trial must commence, the time period of March
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              8, 2018, to March 15, 2018, inclusive, is deemed excludable pursuant to 18 United
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19            States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4

20            because it results from a continuance granted by the Court at the defendant's request
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              on the basis of the Court’s finding that the ends of justice served by taking such
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              action outweigh the best interest of the public and the defendant in a speedy trial.
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       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
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2           Speedy Trial Act dictate that additional time periods are excludable from the period within

3           which a trial must commence.
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     IT IS SO STIPULATED.
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6    Dated: March 7, 2018                                         /s/ John R. Manning
7
                                                                  JOHN R. MANNING
                                                                  Attorney for Defendant
8                                                                 Jamie Ramon Fuentes Martinez
9

10
     Dated: March 7, 2018                                         McGregor W. Scott
                                                                  United States Attorney
11
                                                                  by: /s/ Amanda Beck
12
                                                                  AMANDA BECK
13                                                                Assistant U.S. Attorney

14
                                                 ORDER

15          IT IS SO ORDERED.
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17   Dated: March 13, 2018

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